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32474-1
               IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

SUNIL BHATIA, Individually, and derivatively       )
On behalf of MEDVALUE OFFSHORE                     )      Case No. 18-cv-02387
SOLUTIONS, INC.,                                   )
                                                   )
              Plaintiff,                           )      Hon. Robert M. Dow Jr., Presiding
                                                   )
              v.                                   )
                                                   )
RAJU VASWANI, an individual, KARAN                 )
VASWANI, an individual, and ASSIVO, INC.           )
(f/k/a MV OUTSOURCING, INC.), an Illinois          )
Corporation,                                       )
                                                   )
              Defendants.                          )

     DEFENDANT, RAJU VASWANI’S, SECOND UNOPPOSED MOTION FOR
     EXTENSION OF TIME TO FILE HIS AMENDED MOTION FOR PARTIAL
   SUMMARY JUDGMENT, AMENDED STATEMENT OF MATERIAL FACTS IN
  SUPPORT OF HIS AMENDED MOTION FOR PARTIAL SUMMARY JUDGMENT,
  AND AMENDED MEMORANDUM OF LAW IN SUPPORT OF HIS MOTION FOR
                    PARTIAL SUMMARY JUDGMENT

       NOW COMES Defendant, Raju Vaswani (“Raju”), by and through his undersigned

counsel, and for his Second Unopposed Motion for Extension of Time to file his Amended Motion

for Partial Summary Judgment, Amended Statement of Material Facts in Support of His Amended

Motion for Partial Summary Judgment, and Amended Memorandum of Law in Support of His

Amended Motion for Partial Summary Judgment, states as follows:

       1.     Raju filed his Motion for Partial Summary Judgment on July 24, 2020 (Dkt No.

167), and his Memorandum of Law and Statement of Material Facts in support of his Motion for

Partial Summary Judgment on July 22, 2020 (Dkt. No. 163 and 165) (collectively, the “Partial

MSJ”). The Partial MSJ is a targeted motion relative to Counts I through IV of Plaintiff, Sunil

Bhatia’s (“Sunil”), Second Amended Complaint (“SAC”) (Dkt. No. 44).
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          2.   On September 16, 2020, Sunil filed a Motion to Allow Time to Complete Discovery

and for Other Relief Pursuant to Federal Rule of Civil Procedure 56(d) (Dkt. No. 192), which was

granted over objection on October 7, 2020 (Dkt. No. 205).

          3.   Thereafter, on September 23, 2020, Sunil filed a Motion to Reopen Discovery (Dkt.

No. 199), which was granted over objection on October 7, 2020 (Dkt. No. 205).

          4.   Subsequently thereto, at the hearing on October 20, 2020, Raju was granted leave

to file a revised Partial MSJ within seven (7) days, or on or before, October 27, 2020 (Dkt. No.

211). Following the hearing, numerous crucial and undisputed material facts surfaced which

required Raju to seek additional time to amend the Partial MSJ. Thus, on October 29, 2020, Raju

filed his first Unopposed Motion for Extension of Time (Dkt. No. 213), which was granted (Dkt.

No. 218).

          5.   Since that time, the parties have been engaged in discovery pursuant to Court Order.

Since discovery is ongoing, Raju requires additional time to file his amended Partial MSJ.

          6.   On November 25, 2020, via e-mail exchange, Sunil’s counsel agreed to an

extension of time of sixty (60) days for the filing of an amended Partial MSJ.

          7.   This is Raju’s second request for an extension of time to file an amended Partial

MSJ.

          8.   Federal Rule of Civil Procedure 6(b)(1) provides that “[w]hen an act may or must

be done within a specified time, the court may, for good cause, extend the time: (A) With or

without motion or notice if the court acts, or if a request is made, before the original time or its

extension expires.”

          9.   In this case, given the status of discovery, good cause exists for the extension

sought.
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       WHEREFORE, Defendant, Raju Vaswani, respectfully requests that this Honorable Court

grant an extension of 60 days, up to and including February 1, 2021, for the filing of Defendant,

Raju Vaswani’s, Amended Motion for Partial Summary Judgment, Amended Statement of

Material Facts in Support of His Amended Motion for Partial Summary Judgment, and Amended

Memorandum of Law in Support of His Amended Motion for Partial Summary Judgment, and

award such other and further relief as is equitable and just.

                                              Respectfully submitted,

                                              RAJU VASWANI

                                              By: /s/ Thomas A. Christensen
                                                  One of His Attorneys

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                                 CERTIFICATE OF FILING AND SERVICE

          I, Thomas A. Christensen, certify as follows under penalty of perjury this 30th day of

November, 2020:

          1.        I filed Defendant, Raju Vaswani's, Second Unopposed Motion for Extension of

Time to File His Amended Motion for Partial Summary Judgment, Amended Statement of Material

Facts in Support of His Amended Motion for Partial Summary Judgment, and Amended

Memorandum of Law in Support of His Motion for Partial Summary Judgment, by filing it with

the Clerk of the Court via electronic means on November 30, 2020.

          2.        I served Defendant, Raju Vaswani's, Second Unopposed Motion for Extension of

Time to File His Amended Motion for Partial Summary Judgment, Amended Statement of Material

Facts in Support of His Amended Motion for Partial Summary Judgment, and Amended

Memorandum of Law in Support of His Motion for Partial Summary Judgment, by filing it with

the Clerk of the Court via electronic means, which electronic filing constitutes service by virtue of

local rule 5.9.

                                                             /s/ Thomas A. Christensen



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